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                   15
                          Pharmaceuticals, Inc.

                   16
                                                    UNITED STATES DISTRICT COURT
                   17
                                                            DISTRICT OF NEVADA
                    18

                    19    JANSSEN PHARMACEUTICALS, INC. and               Case No:
                          GRUNENTHAL GMBH,
                   20
                                                      Plaintiffs,
                   21                   V.
                                                                          COMPLAINT

                   22
                          ROXANE LABORATORIES, INC.,
                   23
                                                      Defendant.
                   24

                   25

                   26            In this patent infringement action, Plaintiffs Janssen Pharmaceuticals, Inc. ("Janssen")

                   27      and Grunenthal GmbH ("Grunenthal"), for their complaint against Defendant Roxane
                   28

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                            Case 3:13-cv-00639-MMD-WGC Document 1 Filed 11/15/13 Page 2 of 14



                        1    Laboratories, Inc. ("Roxane"), allege as follows:

                     2
                                                         SUBJECT MATTER JURISDICTION
                     3

                     4               1.     This action for patent infringement arises under 35 U.S.C. § 1 et seq. generally

                     5       and 35 U.S.C. § 271(e)(2) specifically.
                     6
                                     2.     This Court has subject matter jurisdiction over this dispute pursuant to 28 U.S.C.
                     7
                              §§ 1331, 1338(a), 2201, and 2202.
                     8
                                                              PERSONAL JURISDICTION
                     9

                    10
                                     3.     This Court has personal jurisdiction over Roxane by virtue of the fact that, inter
                    11
                             alia, on information and belief Roxane is incorporated under the laws of the State of Nevada and
                    12
                             is therefore a resident of Nevada.        Additionally, on information and belief, Roxane has
                    13
                             designated as an agent for service of process The Corporation Trust Company of Nevada, 311
                    14

                    15        South Division Street, Carson City, Nevada 89703.

                    16                                                    VENUE

                    17               4.     Venue is proper in this district pursuant to 28 U.S.C. §§ 1391 and 1400(b).
                    18
                                                              NATURE OF THE ACTION
                    19

                    20               5.     This is an action for patent infringement under the patent laws of the United

                    21        States, Title 35, United States Code, in response to the submission of an Abbreviated New Drug
                    22
                              Application ("ANDA") with the U.S. Food and Drug Administration ("FDA") seeking approval
                    23
                              to manufacture and sell generic versions of NUCYNTA® prior to the expiration of U.S. Reissue
                    24
                              Patent No. 39,593 E ("the RE593 Patent") and U.S. Patent No. 7,994,364 B2 ("the '364 Patent").
                    25

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                        1                                            THE PARTIES

                    2
                                    6.       Plaintiff Grunenthal is a corporation organized and existing under the laws of
                    3

                             Germany, having an address at Zieglerstrasse 6, 52078 Aachen, Germany. Griinenthal owns the
                    4

                    5        RE593 and '364 Patents.


                    6                7.      Plaintiff Janssen is a Pennsylvania corporation, having its principal place of
                    7
                             business at 1125 Trenton-Harbourton Road, Titusville, New Jersey 08560. As discussed below,
                    8
                             Janssen is an exclusive licensee of the RE593 and '364 Patents.
                    9
                                     8.      Janssen holds FDA-approved New Drug Application ("NDA") No. 022304.
                   10
                                     9.      Janssen manufactures and markets the drug covered by NDA No. 022304
                   11

                   12
                             ("NUCYNTA" or the "NUCYNTA drug product") in the United States. The active ingredient of

                   13        NUCYNTA is tapentadol hydrochloride. The drug is marketed under the registered trade name

                   14        NUCYNTA®. Under NDA 022304, NUCYNTA is marketed in 50, 75 and 100 mg tablets.
                   15
                                     10.    NUCYNTA is approved by the FDA for the management of moderate to severe
                   16
                             acute pain in adults.
                   17
                                     11.     On information and belief. Defendant Roxane is a corporation existing under the
                   18
                             laws of the State of Nevada, having a place of business at 1809 Wilson Road, Columbus, OH
                   19

                   20        43228. Roxane is registered to do business in Nevada as a domestic corporation under Business

                   21        I.D. No. NV20051224750.

                   22                                           THE PATENTS-IN-SUIT

                   23                                                 RE593 Patent

                   24

                   25
                                     12.     The RE593     Patent, entitled "l-PHENYL-3-DIMETHYLAMINOPROPANE

                   26         COMPOUNDS WITH A PHARMACOLOGICAL EFFECTS," was duly and legally issued on

                   27

                   28

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                        1    April 24, 2007, naming Helmut Buschmann, Elmar Friderichs, and Wolfgang Strassburger as the

                     2       inventors. A copy of the RE593 Patent is attached hereto as Exhibit 1.
                     3
                                     13.    The RE593 Patent is a reissue of U.S. Patent No. 6,248,737, issued on June 19,
                     4
                             2001.
                     5
                                     14.    Plaintiff Griinenthal lawfully owns all right, title and interest in the RE593 Patent,
                     6
                             including the right to sue and to recover for past infringement thereof.
                     7

                        8            15.    Plaintiff Janssen is an exclusive licensee of the RE593 Patent, holding an

                     9       exclusive license to import, market, distribute, promote, offer to sell or sell pharmaceutical

                    10       formulations containing tapentadol for human use in the field of pain within the United States,
                    11
                             with a right to enforce the RE593 Patent.
                    12
                                     16.    The FDA issues a publication entitled Approved Drug Products with Therapeutic
                    13
                             Equivalence Evaluations (the "Orange Book").
                    14

                                     17.    In accordance with 21 U.S.C. § 355(b)(1), the RE593 Patent is listed in the
                    15

                    16       Orange Book in connection with NDA No. 022304 as a patent "with respect to which a claim of

                    17       patent infringement could reasonably be asserted if a person not licensed by the owner engaged
                    18
                             in the manufacture, use, or sale of the drug" NUCYNTA.
                    19
                                                                      The '364 Patent
                    20

                    21               18.    The '364 Patent, entitled "CRYSTALLINE FORMS OF (-)-(lR,2R)-3-(3-

                    22       DIMETHYLAMIN0-l-ETHYL-2-METHYLPR0PYL)-PHEN0L HYDROCHLORIDE," was
                    23
                             duly and legally issued on August 9, 2011, naming Andreas Fischer, Helmut Buschmann,
                    24
                             Michael Gruss, and Dagmar Lischke as the inventors. A copy of the '364 Patent is attached
                    25
                             hereto as Exhibit 2.
                    26

                                     19.    Plaintiff Griinenthal lawfully ovms all right, title and interest in the '364 Patent,
                    27

                    28       including the right to sue and to recover for past infringement thereof.
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                           Case 3:13-cv-00639-MMD-WGC Document 1 Filed 11/15/13 Page 5 of 14



                       1           20.     Plaintiff Janssen is an exclusive licensee of the '364 Patent, holding an exclusive

                     2      license to import, market, distribute, promote, offer to sell or sell pharmaceutical formulations
                     3
                            containing tapentadol for human use in the field of pain within the United States, with a right to
                     4
                            enforce the '364 Patent.
                     5
                                   21.     In accordance with 21 U.S.C. § 355(b)(1), the '364 Patent is hsted in the Orange
                     6
                            Book in connection with NDA No. 022304 as a patent "with respect to which a claim of patent
                     7

                     8      infringement could reasonably be asserted if a person not licensed by the owner engaged in the

                     9      manufacture, use, or sale of the drug" NUCYNTA.

                    10                                       THE DEFENDANT'S ANDA

                    11

                    12
                                   22.     On information and belief, Roxane submitted ANDA No. 205057 to the FDA

                    13      under § 505G) of the Federal Food, Drug and Cosmetic Act (21 U.S.C. § 355(j)), seeking FDA

                    14      approval to engage in the commercial manufacture, use, importation, offer for sale, and sale of
                    15
                            generic 50 mg, 75 mg, and 100 mg tapentadol hydrochloride tablets (the "ANDA No. 205057
                    16
                            Products").
                    17
                                   23.     On information and belief, Roxane's ANDA No. 205057 contains a certification
                    18
                            pursuant to 21 U.S.C. § 355(j)(2)(A)(vii)(IV) ("Paragraph IV certification") alleging that the
                    19

                    20      RE593 and '364 Patents are "invalid, not infringed, and/or unenforceable."

                    21             24.     On information and belief, Roxane is the owner of ANDA No. 205057.

                    22             25.     On information and belief, if ANDA No. 205057 is approved by the FDA before
                    23
                            the expiration of the RE593 and '364 Patents, Roxane will begin manufacturing, using,
                    24
                            importing, offering for sale, and/or selling the ANDA No. 205057 Products, despite the patents.
                    25
                                   26.     On information and belief, if ANDA No. 205057 is approved by the FDA,
                    26

                            Roxane will begin marketing the ANDA No. 205057 Products for the management of moderate
                    27

                    28

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                      1    to severe acute pain in adults, and doctors and patients will use each of the dosage strengths of

                    2      the ANDA No. 205057 Products for the indication marketed by Roxane.
                    3
                                   27.     Roxane has correctly represented that the Reference Listed Drug of ANDA No.
                    4
                           205057 is NUCYNTA.
                    5
                                   28.     Pursuant to FDA regulation 21 C.F.R. § 314.94, in order to secure FDA approval,
                    6
                           each of the ANDA No. 205057 Products' dosage strengths must have the same strength as one of
                    7

                    8      the approved dosages for NUCYNTA. In addition, the ANDA No. 205057 Products must be

                    9      bioequivalent to NUCYNTA.

                   10              29.     On or about October 8, 2013, Plaintiff Janssen received a letter dated October 3,
                   11
                           2013 (the "October 3, 2013 notice letter"), constituting the notice of ANDA No. 205057,
                   12
                           including the Paragraph IV certification, required by 21 U.S.C. § 355(j){2){B)(i)-(ii). On or
                   13
                           about October 21, 2013, Plaintiff Grunenthal received a letter dated October 3,2013, constituting
                   14

                           notice of ANDA No. 205057, including the Paragraph IV certification, required by 21 U.S.C. §
                   15

                   16      355(j)(2)(B)(i)-(ii).   That notice demonstrates an actual and justiciable controversy.      The

                   17      Paragraph IV certification alleged that the claims of the RE593 and '364 Patents are "invalid, not
                   18
                           infi-inged, and/or unenforceable."
                   19
                                   30.     By the filing of this Complaint, an action was commenced within forty-five days
                   20
                           of the date of receipt of the October 3, 2013 notice letter of ANDA No. 205057.
                   21
                                   31.     On information and belief, Roxane was aware of the RE593 and '364 Patents
                   22

                   23
                           when ANDA No. 205057 was submitted to the FDA, containing the above-described Paragraph

                   24      IV certification concerning these specific patents.

                   25              32.     Pursuant to 35 U.S.C. § 271(e)(2)(A), the submission of ANDA No. 205057 with
                   26
                           a Paragraph IV certification seeking approval to market the ANDA No. 205057 Products is an
                   27
                           act of infringement by Roxane of one or more claims of the RE593 and '364 Patents. This
                   28

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                        1    infringement entitles Plaintiffs to the relief provided by 35 U.S.C. § 271(e)(4), including, inter

                    2        alia, an order of this Court that the effective date of approval for ANDA No. 205057 be a date
                    3
                             which is not earlier than the expiration date of the last expiring of the RES93 and '364 Patents,
                    4
                             including any extensions of that date.
                    5
                                                     COUNT I: INFRINGEMENT OF THE RE593 PATENT
                    6

                    7
                                     33.     Plaintiffs incorporate and reallege Paragraphs 1-17 and 22-32 above.
                    8
                                     34.    The submission of ANDA No. 205057 with a Paragraph IV certification regarding
                    9
                             the RE593 Patent was an act of infringement by Roxane of one or more claims of the RE593
                   10
                             Patent under 35 U.S.C. § 271(e)(2)(A).
                   11

                   12
                                     35.     On information and belief, the ANDA No. 205057 Products are covered by one or

                   13        more claims of the RE593 Patent.

                   14                36.     On information and belief, Roxane's commercial importation, manufacture, use,
                   15
                              sale, and/or offer for sale of the ANDA No. 205057 Products before the expiration of the RE593
                   16
                              Patent would infringe, contribute to the infringement of, and/or induce the infringement of one or
                   17
                              more claims of the RE593 Patent.
                   18

                                     37.     On information and belief, the use of Roxane's ANDA No. 205057 Products in
                   19

                   20         accordance with and as directed by Roxane's proposed labeling will infringe one or more claims

                   21         of the RE593 Patent.

                   22                38.     On information and belief, by seeking approval to distribute the ANDA No.
                   23
                              205057 Products with their proposed labeling, Roxane intends to cause others, specifically, for
                   24
                              example, medical professionals and patients, to perform acts that Roxane knows will infringe
                   25
                              one or more claims of the RE593 Patent.
                   26

                              ///
                   27

                   28         ///

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                     1            39.    On information and belief, unless enjoined by this Court, Roxane plans and

                    2     intends to, and will, actively induce infringement of one or more claims of the RE593 Patent
                     3
                          immediately following approval of ANDA No. 205057.
                    4
                                  40.     On information and belief, unless enjoined by this Court, Roxane plans and
                     5
                          intends to, and will, contribute to the infringement of one or more claims of the RE593 Patent
                     6
                          immediately following approval of ANDA No. 205057.
                     7

                     8            41.     On information and belief, Roxane knows that its ANDA No. 205057 Products

                     9    and their proposed labeling are especially made or adapted for use in infringing one or more

                    10    claims of the RE593, and that Roxane's ANDA No. 205057 Products and their proposed labeling
                    11
                          are not suitable for any substantial noninfringing use.
                    12
                                  42.     On information and belief, Roxane has been aware of the existence of the RE593
                    13
                          Patent since before the submission of ANDA No. 205057.
                    14

                                  43.     On information and belief, Roxane has no reasonable basis for believing that its
                    15

                    16    ANDA No. 205057 Products will not infringe one or more valid claims of the RE593 Patent and

                    17    no reasonable basis for believing that the infringed claims are invalid.
                    18            44.     This case is "exceptional," as that term is used in 35 U.S.C. § 285.
                    19
                                  45.     On information and belief, unless enjoined by this Court, Roxane plans and
                    20
                          intends to engage in the manufacture, use, offer for sale, sale, marketing, distribution, and/or
                    21
                          importation of the ANDA No. 205057 Products with their proposed labeling immediately
                    22

                    23
                          following approval of ANDA No. 205057.

                    24            46.     The acts of infringement by Roxane set forth above will cause Plaintiffs Janssen

                    25    and Grunenthal irreparable harm for which they have no adequate remedy at law, and those acts
                    26
                           will continue unless enjoined by this Court.
                    27
                          ///
                    28

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                     1            47.     Plaintiffs are entitled to the relief provided by 35 U.S.C. § 271(e)(4), including,

                    2     inter alia, an order of this Court that the FDA set the effective date of approval for Roxane's
                    3
                          ANDA No. 205057 to be a date which is not any earlier than the expiration date of the RE593
                    4
                          Patent, including any extensions of that date.
                     5
                                                 COUNT II: INFRINGEMENT OF THE '364 PATENT
                     6

                     7
                                  48.     Plaintiffs incorporate and reallege Paragraphs 1-11 and 18-32 above.
                     8
                                  49.     The submission of ANDA No. 205057 with a Paragraph IV certification regarding
                     9
                          the '364 Patent was an act of infringement by Roxane of one or more claims of the '364 Patent
                    10
                          under 35 U.S.C. § 271(e)(2)(A).
                    11

                    12
                                  50.     On information and belief, the ANDA No. 205057 Products are covered by one or

                    13    more claims of the '364 Patent.

                    14            51.     On information and belief, Roxane's commercial importation, manufacture, use,
                    15
                           sale, and/or offer for sale of the ANDA No. 205057 Products before the expiration of the '364
                    16
                           Patentwould infringe, contribute to the infringement of, and/or induce the infringement of one or
                    17
                           more claims of the '364 Patent.
                    18
                                  52.     On information and belief, the use of Roxane's ANDA No. 205057 Products in
                    19

                   20      accordance with and as directed by Roxane's proposed labeling will infringe one or more claims

                   21      of the '364 Patent.

                   22              53.    On information and belief, by seeking approval to distribute the ANDA No.
                   23
                           205057 Products with their proposed labeling, Roxane intends to cause others, specifically, for
                    24
                           example, medical professionals and patients, to perform acts that Roxane knows will infringe
                    25
                           one or more claims of the '364 Patent.
                    26

                           ///
                    27

                    28     ///

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                        Case 3:13-cv-00639-MMD-WGC Document 1 Filed 11/15/13 Page 10 of 14



                    1            54.     On information and belief, unless enjoined by this Court, Roxane plans and

                    2     intends to, and will, actively induce infringement of one or more claims of the '364 Patent
                    3
                          immediately following approval of ANDA No. 205057.
                    4
                                 55.     On information and belief, unless enjoined by this Court, Roxane plans and
                    5
                          intends to, and will, contribute to the infringement of one or more claims of the '364 Patent
                    6
                          immediately following approval of ANDA No. 205057.
                    7

                    8            56.     On information and belief, Roxane knows that its ANDA No. 205057 Products

                    9     and their proposed labeling are especially made or adapted for use in infringing one or more

                   10     claims of the '364 Patent, and that Roxane's ANDA No. 205057 Products and their proposed
                   11
                          labeling are not suitable for any substantial noninfringing use.
                   12
                                 57.     On information and belief, Roxane has been aware of the existence of the '364
                   13
                          Patent since before the submission of ANDA No. 205057.
                   14

                                 58.     On information and belief, Roxane has no reasonable basis for believing that its
                   15

                   16     ANDA No. 205057 Products will not infringe one or more valid claims of the '364 Patent and no

                   17     reasonable basis for believing that the infringed claims are invalid.
                   18
                                 59.     This case is "exceptional," as that term is used in 35 U.S.C. § 285.
                   19
                                 60.     On information and belief, unless enjoined by this Court, Roxane plans and
                   20
                          intends to engage in the manufacture, use, offer for sale, sale, marketing, distribution, and/or
                   21
                          importation of the ANDA No. 205057 Products with their proposed labeling immediately
                   22

                   23
                          following approval of ANDA No. 205057.

                   24            61.     The acts of infi-ingement by Roxane set forth above will cause Plaintiffs Janssen

                   25     and Grtinenthal irreparable harm for which they have no adequate remedy at law, and those acts
                   26
                          will continue unless enjoined by this Court.
                   27
                          ///
                   28

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                        Case 3:13-cv-00639-MMD-WGC Document 1 Filed 11/15/13 Page 11 of 14



                    1            62.     Plaintiffs are entitled to the relief provided by 35 U.S.C. § 271(e)(4), including,

                    2     inter alia, an order of this Court that the FDA set the effective date of approval for Roxane's
                    3
                          ANDA No. 205057 to be a date which is not any earlier than the expiration date of the '364
                    4
                          Patent, including any extensions of that date.
                    5
                                                                 RELIEF SOUGHT
                    6
                                 WHEREFORE, Plaintiffs respectfully request the following relief:
                    7

                    8                    A.      Judgment in favor of Plaintiffs and against Defendant;

                    9                    B.      Judgment that the RE593 and '364 Patents have not been proven invalid
                   10
                          and unenforceable;
                   11
                                         C.      Judgment that Roxane has infringed, literally or by the doctrine of
                   12
                          equivalents, the RE593 and '364 Patents by the submission of ANDA No. 205057, and that the
                   13
                          commercial importation, sale, offer for sale, use, and/or manufacture of the ANDA No. 205057
                   14

                   15     Products, in the United States, would infringe, induce infringement of, and/or contribute to the

                   16     infringement of the RE593 and '364 Patents;

                   17                    D.      Judgment, pursuant to 35 U.S.C. § 271(e)(4)(A), that the effective date of
                   18
                          approval of ANDA No. 205057 under § 505(j) of the Federal Food, Drug and Cosmetic Act (21
                   19
                          U.S.C. § 355(j)), shall be a date not earlier than the date of expiration of the latest of the RE593
                   20
                          and '364 Patents plus any additional periods of exclusivity;
                   21

                                         E.      A preliminary and permanent injunction, pursuant to 35 U.S.C.
                   22

                   23     §§ 271(e)(4)(B) and 283 and Rule 65, Fed. R. Civ. P., enjoining Roxane, and its officers,

                   24     partners, agents, servants, employees, parents, subsidiaries, divisions, affiliate corporations, other
                   25
                          related business entities and all other persons acting in concert, participation, or in privity with
                   26
                          them, and their successors and assigns, from any commercial manufacture, use, offer to sell, or
                   27
                          sale within the United States, or importation into the United States, of any ANDA No. 205057
                   28

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                    1     Product, and any product that is similar to or only colorably different from those products, before

                   2      the date of expiration of the latest of the RE593 and '364 Patents and any additional periods of
                   3
                          exclusivity;
                   4
                                         F.     A declaration that this is an exceptional case and an award to Plaintiffs
                    5
                          Janssen and Griinenthal of their reasonable attorneys' fees and expenses, as provided by 35
                    6
                          U.S.C. §§ 271(e)(4) and 285; and
                    7

                    8                    0.     Damages or other monetary relief, including prejudgment interest, if

                    9     Roxane engages in the commercial manufacture, use, offering to sell, sale, marketing,
                   10     distribution, or importation of ANDA No. 205057 Products, or any other products that infringe
                   11
                          the RE593 or '364 Patents, or the inducement of or contribution to the foregoing, prior to the
                   12
                          expiration of the RE593 and/or '364 Patents;
                   13
                                         H.     An award of pre-judgment and post-judgment interest on each and every
                   14

                          award;
                   15

                   16                    I.      An award of Plaintiffs' taxable costs in bringing and prosecuting this

                   17     action; and

                   18

                   19

                   20

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                        1                   J.     Such other and further relief to Plaintiffs Janssen and Grtinenthal as this

                    2         Court may deem just and proper.
                    3
                                                                           Respectfully submitted,
                    4

                    5                DATED this 15h day of November 2013.

                    6                                                      GORDON SILVER

                    7
                                                                     By:     /s/ Molly M. Rezac
                    8                                                      GORDON SILVER
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